               Case 19-18585-MAM            Doc 381       Filed 12/21/20       Page 1 of 10




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION
                                    www.flsb.uscourts.gov

In re:                                                  CASE NO. 19-18585-MAM
                                                        CHAPTER 11
MERIDIAN MARINA & YACHT CLUB
OF PALM CITY, LLC,

     Debtor.


     ZIMMER CONSTRUCTION CONSULTANTS, P.A.’S RESPONSE IN OPPOSITION
    TO MERIDIAN MARINA & YACHT CLUB OF PALM CITY, LLC’S OBJECTION TO
      CLAIM OF ZIMMER CONSTRUCTION CONSULTANTS, P.A. (CLAIM NO. 13)

         Zimmer Construction Consultants, P.A. (“Zimmer”), by and through undersigned

counsel, responds in opposition to Meridian Marina & Yacht Club of Palm City, LLC’s

Objection to Claim of Zimmer Construction Consultants, P.A. (Claim No. 13) (the “Objection”)

[ECF 323], and states as follows:1

         1.      With regard to the substantive issues raised in the Objection, said assertions are

wholly and incomplete devoid of merit as the Objection fails to advise the Court of the true

details of the relationship between the Debtor and Zimmer.




1
  Zimmer initially notes that the Court’s original Order I) Approving Disclosure Statement; (II)
Setting Hearing on Confirmation of Plan; (III) Setting Hearing on Fee Application; (IV) Setting
Various Deadlines; and (V) Describing Plan Proponent’s Obligations (the “Scheduling Order”)
that the Court entered on June 4, 2020 [ECF 117] set a deadline for filing objections to claims to
August 13, 2020, which was 40 days before the original confirmation hearing. The Debtor did
not ask prior to the expiration of said deadline to extend said deadline and did not ask to extend
said deadline when it asked to continue the confirmation hearing (see ECF 212). By
happenstance, when the Court reset the confirmation hearing and the local form order setting a
new confirmation hearing was entered, it contained a new deadline for objections to claims
notwithstanding that no one ever asked to have this deadline extended. Zimmer asserts that the
Debtor should be held to the original deadline, which it failed to comply with and failed to timely
seek to extend, and that the Objection filed on November 25, 2020 was untimely and should be
overruled on those grounds alone.
                                                       1
                                         SLATKIN & REYNOLDS, P.A.
         One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida 33301 Telephone 954.745.5880
             Case 19-18585-MAM             Doc 381       Filed 12/21/20       Page 2 of 10
                                                                                    Case No. 19-18585-MAM


       2.       The Debtor initially engaged Zimmer in August of 2018 for services related to a

new Customs and Border Patrol facility on the Debtor’s property. A copy of the initial retainer

agreement is attached hereto as Exhibit “1”.

       3.       Nowhere in the retainer agreement are the fees that the Debtor owes to Zimmer

capped at $7,000.00. Rather, the retainer agreement, which the Debtor’s principal, Tim Mullen

(“Mullen”), executed, sets forth the hourly rates that the various professionals at Zimmer would

bill and what the scope of the services were.

       4.       The initial retainer payment set forth in the August 29, 2018 retainer agreement

was $3,000.00. The Debtor, acting through Mullen, never made said payment, but continually

stalled and delayed making any payments to Zimmer, all the while giving various excuses. This

behavior appears to be consistent with what Zimmer has learned about the Debtor and Mullen

through the course of their dealings with other creditors in this case.

       5.       Mullen, acting on behalf of the Debtor, nonetheless asked Zimmer to continue

working on the project, which Zimmer did because Zimmer had had previous dealings with the

Debtor and Mullen. At some point in time, however, Zimmer indicated that the initial retainer

would need to be increased to $7,000.00 because no monies had been paid as of yet.

       6.       Mullen, again, acting on behalf of the Debtor, promised that said funds would be

paid, but never paid them. Zimmer nonetheless continued working on the project based on

Mullen’s representation that the monies would be paid.

       7.       Attached hereto as Exhibit “2” is a summary of the services that the Debtor

requested Zimmer to perform and which Zimmer did actually perform, and for which the Debtor

was billed. The Debtor never paid anything to Zimmer. When Zimmer again asked Mullen to see

that the Debtor made payment, Mullen “went dark” and refused to respond to emails and


                                                      2
                                        SLATKIN & REYNOLDS, P.A.
        One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida 33301 Telephone 954.745.5880
                Case 19-18585-MAM             Doc 381       Filed 12/21/20       Page 3 of 10
                                                                                       Case No. 19-18585-MAM


telephone calls requesting payment. Thus ultimately caused Zimmer to cease working on the

project.

       8.          All of the foregoing demonstrates that, notwithstanding the tactics of Mullen and

the Debtor to attempt to reduce Zimmer’s Claim by attaching an invoice for a retainer to their

Objection rather than the retainer letter and the invoice for the actual amount of services

provided, that Zimmer is in fact owed the full about of its Claim and that the Claim should be

paid forthwith.

       9.          The Debtor and Mullen have delayed and stalled payment to Zimmer for over a

year. Asserting a frivolous objection to the Claim is simply the latest tactic to stall and delay

payment in full to Zimmer. Zimmer respectfully requests the Court see through these nefarious

acts, overrule the Objection and allow Zimmer’s Claim in full as filed.

       WHEREFORE, for the reasons stated herein, Zimmer respectfully requests the Court

overrule the Objection, find that the Claim is to be allowed in full as filed, as well as grant any

further relief the Court deems proper under the circumstances.

Dated this 21st day of December, 2020.

                                                    SLATKIN & REYNOLDS, P.A.
                                                    Attorneys for Zimmer Construction
                                                    One East Broward Boulevard, Suite 609
                                                    Fort Lauderdale, Florida 33301
                                                    Telephone 954.745.5880
                                                    Facsimile 954.745.5890
                                                    rreynolds@slatkinreynolds.com

                                                    By: /s/ Robert F. Reynolds
                                                       ROBERT F. REYNOLDS
                                                       Fla. Bar No. 174823




                                                         3
                                           SLATKIN & REYNOLDS, P.A.
           One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida 33301 Telephone 954.745.5880
            Case 19-18585-MAM               Doc 381     Filed 12/21/20        Page 4 of 10
                                                                                     Case No. 19-18585-MAM


                                  CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing has been furnished via the Court’s

CM/ECF     electronic    noticing    system    to    John    P    Carrigan,       Esq., jpc@reblawpa.com,

mmj@reblawpa.com;          Amber       E      Donner,       Esq., Amber.Donner@SpectorRubin.com,

heidiparalegal@gmail.com; Heidi A Feinman, Esq., Heidi.A.Feinman@usdoj.gov; Kassia

Fialkoff, Esq., KFialkoff@duanemorris.com, lamahon@duanemorris.com; Robert C Furr,

Trustee, ltitus@furrcohen.com,        atty_furrcohen@bluestylus.com;              Linda    W        Jackson,

Esq., LJackson@PardoJackson.com, catheryne@pardojackson.com; Robert L. Jennings, Esq.,

hbrj@aol.com, service.rljpa@gmail.com; Dana L Kaplan, Esq., dana@kelleylawoffice.com,

tina@kelleylawoffice.com;           Craig      I      Kelley,        Esq., craig@kelleylawoffice.com,

tina@kelleylawoffice.com; Paul J Lane, Esq.,          pjlegal@hotmail.com; Stephanie C Lieb, Esq.,

slieb@trenam.com,          mmosbach@trenam.com;                  Shaun        T        Plymale,        Esq.,

eshaun@treasurecoastlegal.com,        bhuff@treasurecoastlegal.com;           Alan     B   Rose,      Esq.,

arose@mrachek-law.com,          manderson@mrachek-law.com;               James        O    Stola,      Esq.,

jstola@sbcglobal.net; Office of the US Trustee, USTPRegion21.MM.ECF@usdoj.gov and all

other parties entitled to receive notice via the Court’s CM/ECF noticing system on this 21st day

of December, 2020.

                                                    /s/ Robert F. Reynolds
                                                    ROBERT F. REYNOLDS




                                                     4
                                       SLATKIN & REYNOLDS, P.A.
       One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida 33301 Telephone 954.745.5880
Case 19-18585-MAM   Doc 381   Filed 12/21/20   Page 5 of 10




EXHIBIT “1”
Case 19-18585-MAM   Doc 381   Filed 12/21/20   Page 6 of 10
Case 19-18585-MAM   Doc 381   Filed 12/21/20   Page 7 of 10
Case 19-18585-MAM   Doc 381   Filed 12/21/20   Page 8 of 10




EXHIBIT “2”
Case 19-18585-MAM   Doc 381   Filed 12/21/20   Page 9 of 10
Case 19-18585-MAM   Doc 381   Filed 12/21/20   Page 10 of 10
